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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

x
AIRBNB, INC., : CIVIL CASE
: MANAGEMENT PLAN
Plaintiff, AND SCHEDULING
Vv. : ORDER
THE CITY OF NEW YORK,
18 Civ. 7712 (PAE)
Defendant.
x
x
HOMEAWAY.COM, INC.,
Plaintiff,
Vv 18 Civ. 7742 (PAE)
CITY OF NEW YORK,
Defendant.
x

This Civil Case Management Plan (the “Plan’”) is submitted by the parties in accordance

with Fed. R. Civ. P. 26(f)(3).

1,

All parties (eensent) (do not consent) to conducting all further proceedings before a
Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c). [Circle one.] The
parties are free to withhold consent without adverse substantive consequences. [If all
parties consent, the remaining paragraphs need not be completed.]

This case (45) (is not) to be tried to a jury. [Circle one. ]

Each Plaintiff in these related actions has filed a motion for a preliminary injunction. The
parties have advised the Court that they agree that no discovery is necessary before the
preliminary injunction motions are decided because the issues raised by the motions are
primarily legal in nature, and the Court’s decision on the preliminary injunction motions
will significantly inform the nature and scope of any discovery, As a result, the deadlines
set forth below are measured by the number of days from the Court’s decision on the
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preliminary injunction motions (the “PI Order”).

4. Amended pleadings may not be filed and additional parties may not be joined except with
leave of the Court. Any motion to amend or to join additional parties shall be filed within
30 days from the date of the PI Order. [Absent exceptional circumstances, thirty (30)

 

 

days. }

5. Initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(1), shall be completed no later than
14 days from the date of the PI Order. [Absent exceptional circumstances, fourteen
(14) days.]

6. All oe discovery, except ford depositions ihe at were n wiced prior to May 24, 2019,

 

 

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days, unless the Court finds that the case presents unique complexities or other
exceptional circumstances. ]

Is The parties are to conduct discovery in accordance with the Federal Rules of Civil
Procedure and the Local Rules of the Southern District of New York. The following
interim deadlines may be extended by the written consent of all parties without
application to the Court, provided that all fact discovery is completed by the date set
forth in paragraph 6 above.

a. Initial requests for production of documents to be served by 14 days from the date

 

 

 

of the PI Order.

b. Interrogatories to be served by 14 days from the date of the PI Order.

c. Depositions that were noticed prior tg May 24. 2019, pursuant to Federal Rule of
Civil Procedure 30(b)(6) to be completed by July 26, 2019 May28-2.019-960-days
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d. Requests to Admit to be served no later than 70 days from the date of the PI Order.

 

8. a. The parties agree that no expert discovery is needed. Al-expertdiseovery-shal

 

 

of all fact discovery. the parties shall meet-and confer on a schedule for expert
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‘Tf during the extension period for Rule 30(b}(6) depositions any party believes that it is necessary and appropriate to
seek further discovery, the parties shall meet and confer on the issue and bring any disputes to the Cow.
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11.

12.

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All motions and applications shall be governed by the Court’s Individual Rules and
Practices, including the requirement of a pre-motion conference before a motion for
summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
motion for summary judgment will be deemed untimely unless a request for a pre-motion
conference relating thereto is made in writing within fourteen (14) days of the date in
paragraph 7(c) 6-7-ethe-elose-ofnet-diseevery.

All counsel must meet face-to-face for at least one hour to discuss settlement by no
n paragraph 7(c)withintourteer-444

 
  

 

days toto the-close of faetdiseavers

a. Counsel for the parties have discussed an informal exchange of information in aid
of early settlement of this case and have agreed upon the following:

No such exchange would be productive at this time.

b. Counsel for the parties have discussed the use of the following alternate dispute
resolution mechanisms for use in this case: (i) a settlement conference before a
Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or
(iii) retention of a privately-retained mediator. Counsel for the parties propose the
following alternate dispute resolution mechanism for this case:

The parties’ respective positions are set forth in the Joint Letter dated October 1,
2018.

C. Counsel for the parties recommend that the alternate dispute resolution
mechanism designated in paragraph 11(b), be employed at the following point in
the case (e.g., within the next sixty days; after the deposition of plaintiff is
completed (specify date); after the close of fact discovery):

The parties’ respective positions are set forth in the Joint Letter dated October |.
2018.

d. The use of any alternative dispute resolution mechanism does not stay or modify
any date in this Order.

The Final Pretrial Order date is thirty (30) days following the close of fact and-expert
discovery-Gvhieheveristater). By the Final Pretrial Order date, the parties shall submit a
Joint Pretrial Order prepared in accordance with the undersigned’s Individual Rules and
Practices and Fed. R. Civ. P. 26(a)(3). Any motions in imine shall be filed after the close
of discovery on or before the Final Pretrial Order date. If this action is to be tried before
a jury, proposed voir dire, jury instructions and verdict form shall also be filed on or
before the Final Pretrial Order date. Counsel are required to meet and confer on a joint
submission of proposed jury instructions and verdict form, noting any points of
disagreement in the joint submission. Jury instructions may not be submitted after the
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Final Pretrial Order date, unless they meet the standard of Fed. R. Civ. P. 51(a)(2)(A). If
this action is to be tried to the Court, proposed findings of fact and conclusions of law
should be submitted on or before the Final Pretrial Order date.

13. Counsel for the parties have conferred and their present best estimate of the length of
trial is one week

14. [Other items, including those in Rule 26(£)(3).]

 

TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

St [Other]

16. The next Case Management Conference is scheduled for 8/15/19 at 2:30 p.m.

This ORDER may not be modified or the dates herein extended, except by further Order
of this Court for good cause shown. Any application to modify or extend the dates herein
(except as noted in paragraph 7) shall be made in a written application in accordance with
paragraph 1.E of the Court’s Individual Rules and Practices and shall be made no less than two
(2) business days prior to the expiration of the date sought to be extended.

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SO ORDERED. Pull A K/h

PAUL A. ENGELMAYER
Dated: May 28, 2019 United States District Judge

New York, New York
